° : Case 2:10-cv-08888-CJB-JCW Document 85347 Filed 04/20/11 Page 1of3

ae Soa we 9 oo IN RE: OIL SPILL by “Deepwater Horizon”
Boe :
poe a2 MN ast DIRECT FILING SHORT FORM'
at\ » “ik\* "Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
. at 4 te « geNeopies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)
8 MDL SECTION: J JUDGE CARL BARBIER

By submitting this document, | am asserting a claim in Complaint and Petition of Tritan Asset Leasing GmbH, et
ai., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, ef al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
filed in MBL No. 2179 (10 md 2179).

Last Name _ First Name : Middle Name/Maiden | Suffix
NGUYEN QUYET
Phone Number , E-Mail Address
{3801 CHEF MENTEUR HWY LOT 2 NEW ORLEANS, LA 70129
INDIVIDUAL CLAIM: Po | BUSINESS CLAIM. .
Employer Name GUVEFNGUYEN
op Tine /Desenplion COMMERCIAL SHRIMPER
“ 13801 CHEF MENTEUR HWY LOT 2.
omer? NEWSBLEANS, LA 70129
Last 4 digits of your Social Security Number za digits of your Tax JO Number
Atto Nam Ej
LOREN G. KLITSAS KLITSAS & VERCHER, P.C.
550 WESTCOTT STE STE 570 HOUSTON, TX 77007
(743) 802-1 365 KLM SAS@KV-LAW.COM
Claim filed with BP? Yes 0 NO Claim Filed with GCCF?: YES NO oO
If yes, BP Claim Na.: If yes, Claimant Identification No.3367945

Claim Type (Please check all that apply):

i | Damage or destruction to real or personal property Fear of Future Injury and/or Medica! Monitoring
Eamings/Profit Loss Loss of Subsistence use of Natural Resources
| Personal Injury/Death Removal and/or clean-up costs

Other:

1 This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, C.A. No. 10-2771 and Rec. Doc. 982 in MDL
2179), the filing of this form in C.A. No, 10-8888 shall be deemed to be simultaneously filed in C.A. 10-2771 and MOL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

1

The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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Brief Description:

1. For eamings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

MR. NGUYEN |S A SELF-EMPLOYED COMMERCIAL SHRIMPER; HE COLLECTS

FRESH SHRIMP FROM THE GULF OF MEXICO. BOTH THE AVAILABILITY AND THE

DEMAND FOR FRESH SEAFOOD FROM THE GULF HAVE DECLINED AS A RESULT OF

THE DEEPWATER HORIZON INCIDENT. ADDITIONALLY, THE PRICE OF GULF SEAFOOD

HAS. SUFFERED A LOSS IN PROFITS/EARNINGS DUE TO.THE SPILI

2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
empioyers 2008 to present and complete authorization forms for each.

WA

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

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The filing of this Direct Filing Short Form shal! also serve in Neu of the requirement of a Plaintiff to file 2 Plaintiff Profile Form.
woof Case 2:10-cv-08888-CJB-JCW Document 85347 Filed 04/20/11 Page 3 of 3

Please check the box(es} below that you think apply to you and your claims:
| Non-governmental Economic Loss and Property Damage Claims (Bundle Bt)

: 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
| crabbing or oystering.

Fy 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

0 3. Recreational business owner, operator or warker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico.

C] 4, Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

| oO 5. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
|
oO 6. Plant and dock worker, including commercial seafood plant worker, jongshoreman, or ferry operator.

TC] 7 Owner, lessor, or lessee of real propert y alleged to be damaged, harmed er impacted, physically or economically, including
lessees of oyster beds.

CJ g. Hotel owner and operator, vacation rental owner and agent, or all those who eam their living from the tourism industry.
. [J 9. Bank, financial institution, or retail business that suffered losses as a result of the spill.
O 10. Person who utilizes natural resources for subsistence.

L] 11. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Retated to Cleanup (Bundle B3)}

O11. Boat captain or crew involved in the Vessels of Opportunity program.
| [) 2. Worker invelved in decantaminating vessels that came into contact with oil and/or chemical dispersants.

[]3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

|
0 4. Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.
) 0 5. Resident who lives or works in clase proximity to coastal waters.

C6. Other:

Both BP and the Gulf Coast Claim s Facility (‘“GCCF”) are hereby authorized to relea se to the Defend ants in MDL
2179 ail information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 41), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicabie) filing this form and PSC through Plaintiff Liaison Counsel.

Claimaator Agerray Signature
LOREN G. KLITSAS

Print Name

UleoalL)

Date

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The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file a Piaintiff Profiie Form.
